
310 S.W.3d 739 (2010)
In the Interest of: L.A.H., A.I.K., and L.KJ., Minor children.
No. ED 93373.
Missouri Court of Appeals, Eastern District, Division Four.
May 18, 2010.
Laura E. Sidel, St. Louis, MO, for Appellant, Brian J. Henry.
Steven W. Neimeyer, Chesterfield, MO, for Appellant, Tynishia Jones.
Chris Koster, Attorney General, Gary L. Gardner, Assistant Attorney General, Jefferson City, MO, for Respondent, Missouri Children's Division.
Allison Wolff, Clayton, MO, for Respondent (Juvenile Officer).
John Richard Bird, St. Louis, MO, for Guardian Ad Litem.
Before KURT S. ODENWALD, P.J., GEORGE W. DRAPER, III, J., and GARY M. GAERTNER, JR., J.

ORDER
PER CURIAM.
Mother appeals from the judgment of the family court terminating her parental rights with respect to her minor children L.A.H. (D.O.B. 5/8/2004), A.I.J. (D.O.B. 5/1/2005), and L.KJ. (D.O.B. 12/5/2006), pursuant to Section 211.447, RSMo Supp. 2007.[1] Father appeals from the same judgment terminating his parental rights with respect to L.A.H.,[2] pursuant to the same section. We affirm.
*740 We have reviewed the briefs of the parties, the legal file, and the record on appeal and find the claims of error to be without merit. No error of law appears. An extended opinion reciting the detailed facts and restating the principles of law applicable to this case would serve no jurisprudential purpose. The parties have been furnished with a memorandum for their information only, setting forth the reasons for our decision. We affirm the judgment pursuant to Rule 84.16(b).
NOTES
[1]  All subsequent statutory citations are to RSMo Supp.2007 unless otherwise indicated.
[2]  The trial court also terminated the parental rights of the legal and natural fathers of A.I.J. and L.K.J., but the rights of those individuals are not the subject of this appeal.

